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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MISSOURI

                            COURTROOM MINUTE SHEET
                               CIVIL PROCEEDINGS

Date February 22, 2018          Judge Audrey G. Fleissig       Case No: 4:17cv00806 AGF
Isreal Sanchez                           v. Centene Cort et al
Court Reporter P. Dunn Wecke             Deputy Clerk K. Battle
Attorney(s) for Plaintiff(s) Brandon Marsh, Julia Johnson, & Michael Flannery
Attorney(s) for Defendants(s) Christopher Smith, Joseph Conran, Peter Morrison, &
                                Winston Hsiao

Parties present for an Oral Argument. The Court hears argument from parties. Matter taken
under submission.




Proceedings commenced      1:45pm         Proceedings concluded      3:30pm
